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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

EASTERN DIVISION

l
WILLIAM JOHNSON, §
Plaintiff, §

vs. § No. 03-1037-T/An
DONAL CAMPBELL, et al., §
Defendants. §
l

 

ORDER DENYING MOTION FOR APPOINTMENT OF COUNSEL

 

Plaintit`f William L. Johnson, an inmate at the Northwest Correctional Complex
(NWCX), filed this complaint under 42 U.S.C. § 1983. On May 23, 2005, Johnson filed a
motion for the appointment ofcounsel. Johnson alleges that he is "unskilled“ in law, he "has
been assisted by an inmate legal aide," and he Will "need assistance With his case as Well as
courtroom or trial procedures."

A district court is vested With broad discretion in determining Whether to appoint
counsel for an indigent civil litigant See Lavaclo v. Keohane, 992 F.2d 601, 604~05 (6th
Cir. 1993). Notably, however, appointment of counsel in a civil case is not a constitutional
right, and courts generally do not appoint counsel in a civil case absent a showing of
"exceptional circumstances." Li at 605-06. In determining Whether an appointment is

warranted, courts evaluate the type Of case, the complexity of the factual and legal issues

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involved, and the ability of the litigant to represent himself _S_§_e § at 606; Kilgo v. Ricks,
983 F.Zd 189, 193 (l lth Cir. 1993)("The key [for determining whether exceptional
circumstances exist] is whether the w § litigant needs help in presenting the essential
merits of his or her position to the court Where the facts and issues are simple, he or she
usually will not need such help.") Appointment of counsel in a civil case is not appropriate
when a litigant‘s claims are frivolous, or when the chances of success are extremely slim.
g hLzM), 992 F.Zd at 604-05; Maclin v. Freake, 650 F.Zd 885, 887 (7th Cir.
1981)(“[B]efore the court is justified in exercising its discretion in favor of appointment, it
must first appear that the claim has some merit in fact and law.").

In this case, the plaintist motion does not demonstrate the existence of extraordinary
circumstances that would warrant appointment of counsell The plaintiffs lack of legal
expertise does not serve to distinguish this case from the numerous other cases in which
counsel is not appointed. Moreover, the facts concerning this claim are not complex.
Johnson has filed numerous pleadings in this case, including his complaint, motions, and
responses Johnson filed the motion for appointment cf counsel simultaneously with his
response to the defendants’ motion for summary judgment pending with the Court. Finally,
the Court is aware that there is a severe shortage of attorneys willing to accept appointment

to prisoner civil rights cases on a pro bono basis.

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Accordingly, the Court concludes that appointment of counsel is not warranted and
plaintiffs motion for appointment of counsel is DENIED.

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IT IS SO ORDERED this 29 day of June, 2005.

gwwa

VJAMES D TODD
UNITED STATES DISTRICT JUDGE

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This notice confirms a copy ofthe document docketed as number 58 in
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Honorable .l ames Todd
US DISTRICT COURT

